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AGREED ORDER Ol? DlSMlSSAL

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John Edwald chcll, Shawn Edward lewell, and Jobn lewell Aimafl, Inc., Plaintiff`s, v.
Blankonship l Mc]ton Aviation, Ioc., E¢ Al.. Defmdan\s, prcvious}y pending in the United Smes
Disln'ct for the Nonhem Dism'ct of Mississippi, Westem Division, Civil Action No. 3:03-cv-04}-
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Honorable J ames Todd
US DISTRICT COURT

